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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

MIKE YODER, DRONE DEER RECOVERY
MEDIA, INC., and JEREMY FUNKE,                No. 1:23-cv-00796

        Plaintiffs,                           HON. PAUL L. MALONEY

v.

SCOTT BOWEN, in his official capacity as
Director of the Michigan Department of
Natural Resources,

        Defendant.


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     DEFENDANT’S BRIEF IN SUPPORT OF MOTION TO DISMISS UNDER
                     RULES 12(B)(1) AND 12(B)(6)

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                              STATUTES AT ISSUE

Mich. Comp. Laws § 324.40111c(2)

      An individual shall not take game or fish using an unmanned vehicle or

      unmanned device that uses aerodynamic forces to achieve flight or using an

      unmanned vehicle or unmanned device that operates on the surface of water

      or underwater.


Mich. Comp. Laws § 324.40104(1)

      “Take” means to hunt with any weapon, dog, raptor, or other wild or domestic

      animal trained for that purpose; kill; chase; follow; harass; harm; pursue;

      shoot; rob; trap; capture; or collect animals, or to attempt to engage in such

      an activity.




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               CONCISE STATEMENT OF ISSUES PRESENTED

      Michigan law prohibits the use of drones to take game but does not prohibit
      drone users from telling others that they used a drone to take game.

      1.      Plaintiffs seek an order prohibiting DNR officials from keeping drone
              users from telling others that they used a drone to locate a deer. But
              Plaintiffs do not allege that DNR officials intend to do such a thing,
              and officials could still enforce the law if the Court issued such an
              order. Do Plaintiffs have Article III standing if they do not allege an
              injury that would be redressed by the relief they seek?

      2.      To avoid the State’s Eleventh Amendment immunity, Plaintiffs must
              plead an ongoing violation of federal law by DNR officials. Plaintiffs
              allege that they have a free speech right to tell others they used a
              drone to locate a deer, but Plaintiffs do not allege that DNR officials
              intend to violate that right. So, Plaintiffs do not allege an ongoing
              violation of federal law. Have Plaintiffs avoided the State’s immunity
              to their lawsuit?

      3.      DNR officials do not intend to prevent Plaintiffs from telling someone
              they used a drone to locate a deer. DNR officials intend only to enforce
              the law that prohibits the use of a drone to locate a deer—which is
              conduct, not speech. Since the free speech clause only applies to
              speech, not conduct, have Plaintiffs stated a claim for which relief can
              be granted?

             CONTROLLING OR MOST APPROPRIATE AUTHORITY

Authority:    Spokeo, Inc. v. Robins, 578 U.S. 330 (2016).

              Children’s Healthcare is a Legal Duty, Inc. v. Deters, 92 F.3d 1412 (6th
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              Country Mill Farms, LLC v. City of E. Lansing, 280 F. Supp. 3d 1029
              (W.D. Mich. 2017).




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                             STATEMENT OF FACTS

Michigan’s management of wild animals.

       Under Michigan’s constitution, the “conservation and development of the

natural resources of the state are hereby declared to be of paramount public concern

in the interest of the health, safety and general welfare of the people.” Mich. Const.

art. 4, § 52. The wild animals in Michigan are some of the State’s most important

natural resources. According to one estimate, hunting and fishing in Michigan

generate more than $11 billion a year in economic activity, and support more than

135,000 jobs. 1

       Managing wild game is “an exercise of the police power inherent in the state.”

People v. Zimberg, 321 Mich. 655, 658 (1948) (citation omitted). By law, “[a]ll

animals found in [Michigan] . . . are the property of the people of the state.” Mich.

Comp. Laws § 324.40105. So, “an individual may acquire only such limited or

qualified property interest therein as the state chooses to permit.” Zimberg, 321

Mich. at 658. And the State can continue to regulate “the use of or right of property

in the game after it is taken or killed.” Id. at 659–660 (collecting citations). Federal

courts have recognized that states did not surrender their sovereignty over wild

animals when they joined the Union. See, e.g., Hughes v. Oklahoma, 441 U.S. 322,

337 (1979).


1 See https://www.michiganbusiness.org/news/2019/11/michigan-hunters-head-to-

the-woods-boost-statewide-
economy/#:~:text=A%20recent%20study%20released%20by,more%20than%20135%
2C000%20Michigan%20jobs (last accessed 2/5/2024).




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      Generally, animals for which there is a demand are designated as “game”

animals. Dozens of types of wild animals in Michigan are classified as game,

including deer. Mich. Comp. Laws § 324.40103(1)(i). Both DNR and the Michigan

Natural Resource Commission have regulatory authority to determine the dates,

times, places, and methods people can use to take game animals. See, e.g., Mich.

Comp. Laws §§ 324.40107; 324.40113a(2). Many of those details are included in the

regularly updated, nearly 200-page Wildlife Conservation Order. 2 Section 3.100 of

the Wildlife Conservation Order, for example, explains in detail for 15 pages that

only certain types of deer may be taken at certain times of day and within certain

dates of the year, with specific methods, and only by certain license holders.

      Not all provisions regulating the taking of game animals are included in the

Wildlife Conservation Order. Many provisions are found in statute, and therefore

cannot be changed by DNR or the Natural Resources Commission. The provision at

issue in this case is in a statute. In 2015, the Michigan Legislature passed Senate

Bills 54 and 55. Senate Bill 54 updated Michigan’s hunter harassment statute and

made it unlawful for a person to use a drone “to affect animal or fish behavior in

order to hinder or prevent the lawful taking of an animal or fish.” Mich. Comp.

Laws § 324.40112(2)(c). The bill analysis completed for the two bills stated that

Senate Bill 54 arose because animal rights groups had started encouraging their


2 https://www.michigan.gov/dnr/-

/media/Project/Websites/dnr/Documents/Orders/Wildlife-Conservation-
Order/ChapterIII.pdf?rev=f9475819704a47c58aa503f67bfe9a64&hash=5A9E0C8FE
7645E8BC70A897CA067630A.




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members to use drones “to interfere with taking game, by maneuvering a [drone] to

block a hunter’s shot, for instance, or scaring away the game.” (Ex. 1, 4/2/2015 Bill

Analysis, p. 2.)

       Senate Bill 55 amended the statute Plaintiffs challenge in this case. It made

it unlawful for an individual to “take game or fish” with a drone. Mich. Comp. Laws

§ 324.40111c(2). The analysis stated that Senate Bill 55 clarified that the existing

prohibition on using “aircraft to aid in taking” game extended to drones. (Ex. 1,

4/2/2015 Bill Analysis, p. 2.) It also stated that banning drones in the taking of

game “would be consistent with fair chase principles,” which, as an “example,”

would be violated if “a hunter used a [drone] to spot a deer,” or “to chase or herd the

deer toward the hunter for an easier kill.” (Id., p. 3.) The analysis further noted

that multiple other states already banned drones in hunting, and that “local

hunting groups have petitioned wildlife officials to outlaw” drones in hunting in

three other states. (Id.)

       In its entirety, the statutory provision added by Senate Bill 55 reads: “An

individual shall not take game or fish using an unmanned vehicle or unmanned

device that uses aerodynamic forces to achieve flight or using an unmanned vehicle

or unmanned device that operates on the surface of water or underwater.” Mich.

Comp. Laws § 324.40111c(2). Note that the word “take” is a technical term. It

refers not only to the act of killing an animal, but to most of the acts associated with

doing so. As Plaintiffs correctly allege, “take” in Michigan “means to hunt . . . kill;

chase; follow; harass; harm; pursue; shoot; rob; trap; capture; or collect animals, or




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to attempt to engage in such an activity.” Mich. Comp. Laws § 324.40104(1);

(PageID.90, ¶ 35.)


Plaintiffs’ use of drones.

      Plaintiff Mike Yoder is an Ohio resident who uses drones to locate deer that

have been shot. (PageID.84–85, ¶¶ 1–2, 6, 10.) He runs the company Drone Deer

Recovery LLC, which is also a plaintiff. (PageID.84–85, ¶¶ 1, 6.) Mr. Yoder and

Drone Deer Recovery use drones “to find downed game.” (PageID.84–86, ¶¶ 1, 10,

12–13.) According to Plaintiffs, Drone Deer Recovery’s “drones are equipped with a

powerful long-zoom, infrared camera, thermal imaging technology, and lights that

allow it to conduct its search nearly 400 feet above the ground in low light.”

(PageID.88, ¶ 26.)

      First, Mr. Yoder or another pilot uses a drone to “locate” the deer.

(PageID.85–86, 88, ¶¶ 6, 13, 27–28.) Locating a deer does not require the creation

or dissemination of the deer’s location to someone else. Instead, the drone’s

equipment sends a live feed to the drone user’s screen. (PageID.86, ¶ 13;

PageID.88, ¶¶ 26–27.) Only after using the live feed to conclude that “a downed

deer [has been] located,” does the pilot “then” use “the drone to relay the deer’s

location coordinates to” create “a location pin,” and “disseminates the information to

the hunter using Google Maps or a similar mapping service.” (PageID.86, ¶ 13;

PageID.88–89, ¶¶ 28–29.) Plaintiff Jeremy Funke is a Michigan resident who

wishes to hire Mr. Yoder and Drone Deer Recovery so he can receive




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“communications regarding the location of . . . downed deer.” (PageID.85, 91, ¶¶ 8,

11, 45.)

       Plaintiffs allege that they are entitled under the free speech clause to send

and receive communications about the location of deer, and that Michigan’s

statutory ban on the use of drones to locate deer unconstitutionally infringes on

those rights. (PageID.91–92, ¶¶ 40–50.) They seek “an injunction restraining

Defendant’s enforcement of the Drone Statute in a way that prohibits the creation

and dissemination of certain information.” (PageID.92, ¶ 47.)


                                LEGAL STANDARD

       Dismissal is appropriate under Rule 12(b)(1) when the Court lacks subject

matter jurisdiction. Fed. R. Civ. P. 12(b)(1). “Eleventh Amendment issues are

jurisdictional in nature.” Russell v. Lundergan-Grimes, 784 F.3d 1037, 1046 (6th

Cir. 2015). For a Rule 12(b)(1) motion, the plaintiff carries the burden of proving

that the court has subject-matter jurisdiction. RMI Titanium Co. v. Westinghouse

Elec. Corp., 78 F.3d 1125, 1135 (6th Cir. 1996).

       Dismissal is proper pursuant to Federal Rule of Civil Procedure 12(b)(6)

when a party’s complaint does not advance a “facially plausible” claim with “factual

content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Peatross v. City of Memphis, 818 F.3d 233, 240

(6th Cir. 2016) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). It is generally

true that under Rule 12(b)(6) a court accepts all well-pleaded factual allegations in

the complaint as true. But courts do not “accept as true a legal conclusion couched



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as a factual allegation,” mere labels or conclusions, or “formulaic recitation[s] of the

elements of a cause of action.” Hensley Mfg. v. ProPride, Inc., 579 F.3d 603, 609

(6th Cir. 2009) (internal citations omitted).

      Though a review under Rule 12(b)(6) generally considers only the pleadings,

courts also consider documents references in the pleadings, and “matters of which a

court may take judicial notice.” Tellabs, Inc. v. Makor Issues & Rts., Ltd., 551 U.S.

308, 322 (2007). Courts typically take judicial notice of public records kept and

published by the government. Com. Money Ctr., Inc. v. Illinois Union Ins. Co., 508

F.3d 327, 336 (6th Cir. 2007).


                                     ARGUMENT

I.    Michigan law does not regulate the activity that Plaintiffs allege is
      entitled to constitutional protection.

      The key fact in this case is that Michigan law does not prohibit anyone from

telling someone else that they used a drone to locate a deer. It only prohibits a

person from using the drone to locate the deer to begin with. This distinction

matters because Plaintiffs do not allege that they have a constitutional right to

locate a deer with a drone—only that they have a right to tell someone else that they

located a deer with a drone. (PageID.91, ¶ 41.) In other words, Michigan law does

not prohibit the activity that Plaintiffs allege is entitled to constitutional protection.

      In this as-applied challenge, Plaintiffs allege that Michigan’s statute is “a

content-based restriction on speech because it singles out a particular type of

speech, namely location information pertaining to downed game, and prohibits its



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creation and dissemination if it will be used to collect the game.” (PageID.91, ¶ 41.)

But contrary to Plaintiffs’ allegations, Michigan law does not prohibit the “creation

and dissemination” of “location information pertaining to downed game.” (See

PageID.91, ¶ 41.) The drone statute states that an “individual shall not take game .

. . using [a drone].” Mich. Comp. Laws § 324.40111c(2). And “take” means “hunt . . .

kill; chase; follow; harass; harm; pursue; shoot; rob; trap; capture; or collect

animals, or to attempt to engage in such an activity.” Mich. Comp. Laws §

324.40104(1). The law does not forbid anything about communication. For

example, if a hunter is alone and uses a drone to locate a deer during her hunt, she

has violated the drone statute—there is no need for her to even “create” a location

pin, let alone communicate that pin to someone else for a violation of the statute to

occur. Nor does the statute try to silence her if she does wish to tell others that she

used a drone to locate a deer. If a DNR conservation officer writes her a ticket, it

will not be because she told someone that she used a drone to locate a deer, but

because she used a drone to locate a deer to begin with.

      Plaintiffs’ allegations confirm that distinction. Plaintiffs allege that “DNR

officials have advised Drone Deer Recovery that it is unlawful under state law to

use drones” in “locating a deer after it has been shot.” (PageID.89–90, ¶¶ 31–33,

37.) Plaintiffs allege that DNR interprets the statute to be violated as soon as “a

drone located an animal’s carcass.” (PageID.90, ¶ 37.) DNR officials have not

pledged, and Plaintiffs do not allege, that DNR officials plan to issue citations to

prevent hunters from communicating to someone that they had used a drone to




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locate a deer while hunting. That is because communicating about the conduct is

not illegal—only the conduct itself is.

      This key distinction means that Plaintiffs do not have a case, and there are

three independent reasons why their lawsuit should be dismissed. First, they lack

standing under Article III’s case or controversy requirement because they do not

allege an injury that would be redressed by the relief they seek. Second, they fail to

bypass DNR’s Eleventh Amendment immunity because they do not allege that DNR

officials are trying to prohibit them from doing the activity they say is protected by

the free speech clause. And third, they fail to state a claim for which relief can be

granted since the activity prohibited by Michigan law is conduct, not speech, and is

not protected by the free speech clause.


      A.     The Court lacks jurisdiction because Plaintiffs lack standing.

      This Court does not have jurisdiction under Article III unless Plaintiffs have

standing. Spokeo, Inc. v. Robins, 578 U.S. 330, 337 (2016), as revised (May 24,

2016). Plaintiffs “bear the burden of alleging facts establishing each element of

standing.” Shelby Advocs. for Valid Elections v. Hargett, 947 F.3d 977, 981 (6th Cir.

2020) (citations omitted). To obtain the “injunctive relief” they seek, Plaintiffs

“must show a present ongoing harm or imminent future harm” that is “likely to be

redressed by a favorable judgment.” Id. Here Plaintiffs allege that DNR officials

have threatened to enforce Michigan’s prohibition on using a drone to “locate” deer.

(PageID.89–90, ¶¶ 31–33, 37.) But locating a deer with a drone is not the activity

Plaintiffs allege is protected by the free speech clause. Instead, Plaintiffs allege



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that they have a free speech right to tell someone that they located a deer using a

drone. (PageID.91, ¶ 41.) And Plaintiffs do not allege that DNR officials have

threatened to try to keep them from telling someone that they located deer with a

drone. So, Plaintiffs fail to allege on “ongoing harm or imminent future harm” of a

constitutional nature. Shelby, 947 F.3d at 981.

      Additionally, even if the Court were to grant the injunction Plaintiffs request,

it would not redress Plaintiffs’ problem of wanting to operate their business in

Michigan. A plaintiff fails to satisfy the redressability requirement if the redress of

the injury they allege “requires action,” but the court order they seek is “not likely

to produce that action.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 571 (1992). Here, if

the Court entered “an injunction restraining Defendant’s enforcement of the Drone

Statute in a way that prohibits the creation and dissemination of certain

information” (PageID.92, ¶ 47), it would still be illegal in Michigan to locate a deer

with a drone. DNR officials could still issue a citation to Plaintiffs if they used a

drone to locate a deer. Plaintiffs would have, therefore, obtained an injunction

enjoining DNR officials from doing something that Michigan law does not forbid,

and that DNR officials are not doing and have not threatened to do. And they still

would not be able to operate their business lawfully because it depends on unlawful

conduct not protected by the free speech clause. Thus, Plaintiffs lack standing.




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       B.     The State of Michigan is immune to Plaintiffs’ suit because
              they do not satisfy the Ex parte Young exception to Michigan’s
              immunity.

       Plaintiffs have sued the DNR director in his official capacity. Generally, “a

suit against a state official in his or her official capacity is not a suit against the

official but rather is a suit against the official’s office.” Will v. Mich. Dep’t of State

Police, 491 U.S. 58, 71 (1989). In other words, it is a suit against the State itself,

which the Eleventh Amendment generally bars. Id. at 66. The most common

exception to this immunity is the doctrine announced in Ex parte Young, 209 U.S.

123 (1908), whereby “a suit challenging the constitutionality of a state official’s

action is not one against the State.” Pennhurst State Sch. & Hosp. v. Halderman,

465 U.S. 89, 102 (1984). But “[c]ourts have not read Young expansively.”

Children’s Healthcare is a Legal Duty, Inc. v. Deters, 92 F.3d 1412, 1415 (6th Cir.

1996) (citations omitted). There is a “requirement of action” by the named state

official. Id. at 1416. That is, to rely on the Ex parte Young exception to the

Eleventh Amendment, a plaintiff must be able to point to action by the named state

official showing that “the official [has] threaten[ed] and” is “about to commence

proceedings” that would violate the federal constitution. Id., citing Young, 209 U.S.

at 155–56.

       Here, Plaintiffs do not allege that any DNR official (let alone Director Bowen)

intends to take action that is unconstitutional. As explained above, there is a

difference between locating a deer with a drone (illegal) and telling someone about

it (not illegal). And Plaintiffs allege only that DNR officials have threatened

enforcement of the ban on locating a deer, not that DNR officials have pledged to try


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to keep people from telling someone that they located a deer. Plaintiffs do not

allege that they have a free speech right to locate a deer, only a right to tell someone

else that they did so. Thus, Plaintiffs failed to allege that DNR officials threaten to

violate their free speech rights.

      Plaintiffs seek to enjoin Director Bowen from doing something neither he nor

anyone else as DNR has threatened to do, and something that is not illegal under

the statute. Because Plaintiffs have not alleged an “ongoing violation of federal

law,” their complaint does not satisfy the “straightforward inquiry” needed to

pursue relief under the Ex parte Young exception to Michigan’s immunity, and their

suit is barred by the Eleventh Amendment. See Verizon Maryland, Inc. v. Pub.

Serv. Comm'n of Maryland, 535 U.S. 635, 645 (2002) (citations omitted).


      C.     Plaintiffs fail to state a claim under the free speech clause
             because Michigan law regulates conduct, not speech.

      Even if the Court decides Plaintiffs have standing and have avoided

Michigan’s immunity, the Court should still dismiss the complaint because the

conduct forbidden by Michigan law is not protected by the First Amendment. The

“first step” in a free-speech analysis is to determine whether the government has

“regulated speech.” Country Mill Farms, LLC v. City of E. Lansing, 280 F. Supp. 3d

1029, 1043 (W.D. Mich. 2017), citing Cornelius v. NAACP Legal Def. & Educ. Fund,

Inc., 473 U.S. 788, 797 (1985). If not, then the “inquiry ends” because the

challenged law does not implicate the free speech clause. Id.




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      Here, as noted above, Plaintiffs allege that the statute is “a content-based

restriction on speech because it singles out a particular type of speech, namely

location information pertaining to downed game, and prohibits its creation and

dissemination if it will be used to collect the game.” (PageID.91, ¶ 41.) But that

allegation is the type of “legal conclusion couched as a factual allegation” that the

Court does not “accept as true” for the purposes of Rule 12(b)(6). Hensley, 579 F.3d

at 609.

      Contrary to Plaintiffs’ allegations, Michigan law does not “prohibit” the

“creation and dissemination” of “location information pertaining to downed game.”

(See PageID.91, ¶ 41.) As explained above, the law does not forbid anything about

communication. Using a drone to locate a deer is conduct—not speech. DNR

officials have not pledged, and Plaintiffs do not allege, that DNR officials plan to

issue citations to prevent hunters from communicating to someone that they had

used a drone to locate a deer while hunting. That is because communicating about

the conduct is not illegal—only the conduct itself is.

      Like the law at issue in one Supreme Court case where Congress had barred

federal funding to law schools that refused entrance to military recruiters,

Michigan’s drone statute “neither limits what [hunters] may say nor requires them

to say anything.” Rumsfeld v. F. for Acad. & Institutional Rts., Inc., 547 U.S. 47, 60

(2006). Like that law, Michigan’s drone statute “affects what [hunters] must do,

and not “what they may or may not say.” Id. Since the “regulation of conduct does




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not violate the First Amendment,” Michigan’s drone statute does not violate

Plaintiffs’ free-speech rights. See id. at 70.

      Importantly, Plaintiffs cannot transform a law that prohibits conduct into a

law that prohibits speech simply by speaking about the prohibited conduct. The

Country Mills Farms case from this Court is instructive on this point. In that case,

an apple vendor that also operated a wedding venue decided to bar same-sex

weddings at its venue. It announced its decision on its Facebook page. A city where

the vendor sold its apples then denied the vendor’s application to participate in the

city’s market because of the vendor’s “business practice” of prohibiting same-sex

weddings. Country Mill Farms, 280 F. Supp. 3d at 1044–1045. The vendor sued,

alleging violation of their free-speech rights because they were punished for what

they posted to their Facebook page. But this Court dismissed the free-speech claim,

holding that, contrary to the vendor’s allegations, the city did not try “to regulate

[the vendor’s] speech.” Id. at 1044. The Court recognized that the city had

punished the vendor because of its business practice, not because of what it said on

its Facebook page about its business practice. Id. at 1044–1045. As the Court

explained, “writing about a prohibited general business practice on Facebook does

not transform that conduct into protected speech.” Id. at 1045.

      The same is true in this case. Mr. Yoder and Drone Deer Recovery wish to

use a drone to locate a deer, and “then” tell their customer, Mr. Funke, what they

did. (PageID.86, ¶ 13.) But Michigan law only forbids the first action, not the

second. Simply telling Mr. Funke that they used a drone to locate a deer “does not




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transform that conduct into protected speech.” Country Mill Farms, 280 F. Supp.

3d at 1045. The statute at issue only regulates conduct, not speech. That is why

DNR’s enforcement of the statute—even as alleged by Plaintiffs—targets only

conduct, not speech. For this reason, the First Amendment “inquiry ends,” and the

Court should dismiss Plaintiffs’ first amended complaint for failure to state a claim.

See Country Mill Farms, 280 F. Supp. 3d at 1043.


II.   Recent case law confirms that Michigan’s statute is not subject to
      scrutiny under the free speech clause.

      Drone users elsewhere have also made constitutional challenges to laws

regulating drone use. Consistent with DNR’s argument, the law emerging from

those disputes confirms that courts draw a line between using a drone, and using a

drone in a way that implicates the free speech clause. Courts have held that laws

that regulate the speech created using a drone are subject to scrutiny. But laws

that govern drone use are not subject to scrutiny because they govern conduct, not

speech.

      The case of 360 Virtual Drone Servs. LLC v. Ritter, No. 5:21-cv-137-FL, 2023

WL 2759032 (E.D.N.C. Mar. 31, 2023) is about using drones in land surveying.

North Carolina law regulates people who offer land surveying services and requires

them to satisfy certain professional standards and obtain a license before selling

their services to the public. Id. at *1–*4. Without obtaining a license, a company

began using drones to capture complex aerial images and data that it sold to its

clients. Id. at *1–*2. According to the board that regulated land surveyors, the




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images amounted to the creation of “aerial orthomosaic maps; three-dimensional

digital models of land and structures; and aerial images containing location,

distance, volumetric, and elevation data,” so “only licensed land surveyors” could

sell the images to clients. Id. at *8. The drone company sued, alleging that the

license requirement and enforcement threat violated their free speech rights. The

government apparently argued that the board’s restrictions did not implicate the

free speech clause, but the court disagreed. The board was regulating the

conveyance of images to clients, which was “protected expression,” so “regulating” it

“implicate[d] the First Amendment.” Id. at *9. Unlike the surveying law in North

Carolina, Michigan’s statute does not regulate the conveyance of images to the

public.

      The case of Nat’l Press Photographers Ass’n v. McCraw, 90 F.4th 770, 777

(5th Cir. 2024) is about using drones to report the news. Texas passed two statutes:

one was a no-fly law forbidding the “operation” of drones over sensitive locations

(such as prisons and sports stadiums); the other was a surveillance law that

explicitly forbade the use of a drone to “capture an image . . . with the intent to

conduct surveillance on the individual or property captured in the image.” Id. at

777–778. Journalists filed suit, challenging both laws under the free speech clause.

The government did not seem to challenge the proposition that the surveillance law,

which explicitly regulated the capturing of images, implicated the free speech

clause. Id. at 788–789.




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      But the parties disagreed about the no-fly law. The plaintiffs argued that

their use of a drone was “speech.” Id. at 783. The Fifth Circuit flatly rejected that

argument, ruling that the “operation of a drone is not inherently expressive.” Id. at

787. The plaintiffs also argued that “making it illegal to fly drones over sensitive

sites” prevented “them from capturing newsworthy subjects cheaply and safely,”

because reporters often used drones to “captur[e] images from the air directly over

those facilities.” Id. at 788. The Fifth Circuit was “not persuaded.” Id. It held that

simply because conduct is a possible precursor to speech does not mean that conduct

is protected by the free speech clause. Id. at 788. Citing the Supreme Court, the

Fifth Circuit explained that “are few restrictions on action which could not be

clothed by ingenious argument in the garb of decreased data flow.” Id., citing Zemel

v. Rusk, 381 U.S. 1, 16–17 (1965). For example, making it unlawful to enter secure

government buildings without clearance keeps journalists from gathering

newsworthy information from those buildings, but that does not mean the law

prohibiting unauthorized access implicates the First Amendment. Id. Michigan’s

statute is more like the no-fly law than the surveillance law, since Michigan’s

statute does not regulate communication.

      The case of Brown v. Kemp, 86 F.4th 745 (7th Cir. 2023) is about the use of

drones or other equipment to monitor hunting activity in Wisconsin. As explained

above, the 2015 legislation that created the statute Plaintiffs challenge in this

lawsuit amended Michigan’s hunter harassment law to prohibit the use of drones to

interfere with the taking of game in Michigan. (Supra, 2–3.) In 2016, Wisconsin




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also amended its hunter harassment statute, but unlike Michigan, it did more than

simply prohibit the use of drones to block a shot or scare game, it also prohibited

using a drone to capture images. Specifically, Wisconsin forbade using “a drone” for

the “[p]hotographing, videotaping, audiotaping, or through other electronic means,

monitoring or recording the activities of the” hunter if done in a way “intended to

impede or obstruct a person who is engaged in lawful hunting, fishing, or trapping.”

Brown, 86 F.4th at 757.

      The government argued that the prohibitions in the statute reached “only

conduct, not speech,” so the free speech clause did not apply. Id. at 779. The

Seventh Circuit disagreed, noting that the statute “target[ed] fundamental speech

activities.” Id. The court noted that plaintiffs were animal rights activists who

“use[d] photography and audiovisual recording to try to affect public opinion,” so a

statute that expressly prohibited their ability to make the recordings necessarily

implicated the free speech clause. Id.

      These three cases confirm that Michigan’s statute does not implicate the free

speech clause. Michigan’s statute does not expressly prohibit the dissemination of

certain types of mapping imagery, like the law challenged in 360 Virtual Drone

Servs. LLC, 2023 WL 2759032 at *8. It does not prohibit using a drone to “capture

an image” like the surveillance law challenged in McCraw, 90 F.4th at 777–778.

And it does not prohibit using “a drone” for the “[p]hotographing, videotaping,

audiotaping, or . . . monitoring or recording the activities of” a hunter, like the

statute challenged in Brown, 86 F.4th at 757. Instead, Michigan’s law is more like




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the no-fly law in McCraw, which the Fifth Circuit held was the regulation of

conduct and not speech because the “operation of a drone is not inherently

expressive.” 90 F.4th at 787. And prohibiting conduct does not implicate the free

speech clause simply because the conduct is a possible precursor to eventual speech.

Id. at 788. That holding is like this Court’s holding in the apple vendor case, where

it held that speaking about conduct “does not transform that conduct into protected

speech.” Country Mill Farms, 280 F. Supp. 3d at 1045. Since the statute Plaintiffs

challenge in this case regulates conduct, and not speech, it is not subject to scrutiny

under the free speech clause.




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                         CONCLUSION AND RELIEF REQUESTED

         Defendant requests that the Court dismiss Plaintiffs’ complaint in its

entirety.

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                        CERTIFICATE OF COMPLIANCE

       As required by LCivR 7.2(b)(ii), the number of words in this brief as defined

by LCivR 7.2(b)(i) is 4,676. The brief was prepared using Microsoft Word for Office

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